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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
                                           )
                   v.                      )   Case No. 1:19-CR-10080-NMG
                                           )
                                           )
DAVID SIDOO, et al.,                       )
                                           )
                             Defendants.   )
                                           )




        MICHELLE JANAVS’ SECOND MOTION TO MODIFY SENTENCE
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I.     INTRODUCTION

       Michelle Janavs pleaded guilty “straight up” to the indictment because she wanted to take

responsibility for what she did. She has never contested her guilt. She filed no pretrial motions.

Ms. Janavs paid her fine and forfeited her appeal. She asked for only one thing: that she be

designated as quickly as possible so that she could immediately begin serving her time.

       After her sentencing, but prior to her surrender date, the COVID-19 pandemic ripped

through the United States. The virus hit the federal prison system hard, causing an explosion of

infections and deaths. See Dkt. No. 1098 at 5-6. On April 22, 2020, based on those extraordinary

circumstances, Ms. Janavs respectfully requested that this Court convert her sentence to home

confinement. The government did not deny or minimize the risks that COVID-19 presents to Ms.

Janavs or other prisoners. Dkt. No. 1114 at 4. Nor did the government deny the fact that Ms.

Janavs has an underlying health condition that puts her at serious risk of illness and death if she

becomes infected with COVID-19. Id. at 16. But rather than assent to a sentence modification to

home confinement, the government urged this Court to continue her surrender date.

       The Court likewise acknowledged that the COVID-19 pandemic was an “unprecedented

and continually evolving cause of concern,” and recognized the “particular transmission risk in

penitentiary facilities.” Dkt. No. 1128 at 2.    The Court denied the motion, but extended Ms.

Janavs’ surrender date to June 30, 2020, to be consistent with the self-surrender date of Elizabeth

Henriquez, Ms. Janavs’ co-defendant. Id. “If the public health crisis has not abated by the time

of the extended report date,” the Court wrote, “the Court will entertain further motions.” Id. at 3.

       The public health crisis has not abated. When Ms. Janavs first requested a sentencing

modification on April 22, 2020 the United States already had more confirmed cases (826,184) and

more deaths (45,150) from the virus than any country in the world. Dkt. No. 1098 at 5. In just the

last month, both of those figures have doubled. The conditions in the Bureau of Prisons (“BOP”)



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have deteriorated even more. When Ms. Janavs first requested relief there were more than 1,000

reported COVID-19 cases among inmates in the BOP and 23 prisoners had died. Dkt. No. 1098

at 10. At the time of this filing there were more than 5,500 cases and 71 inmate deaths. 1

       Just as this Court had an obligation to impose a sentence that was warranted by Ms. Janavs’

criminal conduct, the BOP has an obligation to execute that sentence. But due to circumstances

outside of Ms. Janavs’ control, or this Court’s, or even the BOP’s, it is impossible to confine Ms.

Janavs in BOP in a way that does not expose her to a serious risk of illness or death. As a result,

she has been living in a state of quasi-custody. Unable to move on with her life, she is experiencing

the anxiety and dread of a prospective prison sentence, but with no start date (or end date) in sight.

The government may suggest that the Court continue the surrender date again. But continuing the

surrender date again serves no purpose other than to kick the can down the road, prolong Ms.

Janavs’ punishment, and frustrate the interests of the Court and the public in finality.

       Ms. Janavs respectfully requests that the Court bring closure to her case by modifying her

sentence to a term of time served and supervised release 2 with a condition of five months’ home

confinement so that she can serve her sentence under circumstances that do not expose her to an

unreasonable risk of illness or death. She is eligible for a sentencing modification under 18 U.S.C.

§ 3582(c) because of the unprecedented danger that COVID-19 presents to prisoners, like her, with

an underlying health condition that makes them particularly vulnerable to serious illness or death

from the disease. She has exhausted her administrative remedies by making a formal written

request of the warden of her facility, which was denied by BOP’s Regional Counsel more than a

month ago. If this Court finds that more restrictive conditions of home confinement are necessary



1
  Federal Bureau of Prisons, COVID-19 Cases, available at
https://www.bop.gov/coronavirus/index.jsp (updated daily) (hereafter, “BOP COVID-19 Cases”)
(reporting 11,904 federal inmates who are currently infected, and 3,631 who have recovered).
2
  Ms. Janavs was arrested and booked into custody on March 12, 2019, so she has served one day
of imprisonment and is eligible for supervised release. See Presentence Report at ¶ 1.
                                                 2
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to approximate the punishment it intended, it has a panoply of options available to it. All Ms.

Janavs asks is that whatever sentence the Court imposes, she be permitted to start serving it now.

II.    BACKGROUND 3

       On October 21, 2019, Michelle Janavs pleaded guilty “straight up” to the indictment. There

was no agreement from the government to dismiss any of the charges or recommend a favorable

sentence. Ms. Janavs accepted responsibility for her crimes, stating (among other things): “There

are truly no words to express my heartache and shame caused by my actions.” Dkt. No. 872

(February 25, 2020 Transcript) at 53. At sentencing, the government argued that a prison term

was necessary for general deterrence. Id. at 17. When this Court sentenced Ms. Janavs to five

months’ imprisonment, near the high end of the guideline range, it also emphasized the need for

general deterrence, stating “[y]our sentence needs not only to deter you from ever doing anything

like this again but also to deter anyone else who has the gall to use his or her wealth to disparage

our expectation for honest services from our public and private officials.” Id. at 54. The Court’s

words and the sentence itself were widely publicized across the country. See Dkt. No. 1098 at 4.

       On March 2, 2020, counsel contacted the Court’s deputy clerk to request that the Court

expedite the Judgment and Commitment (“J&C”) order, because Ms. Janavs wanted to surrender

as quickly as possible. Id. Ms. Janavs was designated by the BOP to serve her sentence at the

federal prison camp in Bryan, Texas (“FPC Bryan”). Id. She was prepared to surrender and

planned to do so right away. At that point, there were only a handful of COVID-19 cases in the

United States. 4 The United States had reported its first death from COVID-19 only days earlier.




3
  If the government contests any of these facts, Ms. Janavs requests an evidentiary hearing.
4
  Johns Hopkins University of Medicine, Cumulative Cases, last visited May 31, 2020, available
at https://coronavirus.jhu.edu/data/cumulative-cases.
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But the situation deteriorated rapidly. On March 13, 2020, President Trump declared a national

emergency. 5 By the third week of March there were 57,597 confirmed cases and 521 deaths. 6

       On March 23, 2020, counsel for Ms. Janavs sent a letter to Warden Steve Mora of FPC

Bryan asking the BOP to move to convert her five-month prison sentence to home confinement

because of the COVID-19 pandemic. Dkt. No. 1098 at 13. On April 1, 2020, undersigned counsel

spoke with Jason Sickler, Regional Counsel for the Bureau of Prisons, to follow up on the request.

Id. Mr. Sickler stated that the BOP had received the request, but because Ms. Janavs is not yet in

custody, the BOP would not move for a sentencing modification on her behalf. Id.

       By April 2020, the number of infections and deaths in the United States had increased

dramatically. As of April 21, 2020, the United States reported 826,184 confirmed cases and 45,150

deaths. 7 Because there is no cure for COVID-19 and no vaccination, the only way to prevent the

spread of the disease is extreme “social distancing” and strict personal hygiene protocols. As a

result, there were major COVID-19 outbreaks in areas where people were living in close quarters,

such as nursing homes, cruise ships, and prisons. Prisons were hit particularly hard because of the

unique challenges of attempting to “social distance” and maintain strict hygiene while in custody.

       Having exhausted her administrative remedies, on April 22, 2020, Ms. Janavs respectfully

requested that this Court modify her sentence from five months’ imprisonment to five months of

home confinement. Dkt. No. 1098. She presented to the government and to the Court a letter from

her physician describing an underlying health condition that places her at a much higher risk of



5
  Donald Trump, Proclamation on Declaring a National Emergency Concerning the Novel
Coronavirus Disease (COVID-19) Outbreak, Mar. 13, 2020, available at
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-
concerning-novel-coronavirus-disease-covid-19-outbreak/
6
  The Atlantic, The COVID Tracking Project, available at https://covidtracking.com/data/us-
daily
7
  Johns Hopkins University of Medicine, Coronavirus COVID-19 Global Cases, Center for
Systems Science and Engineering, available at https://coronavirus.jhu.edu/map.html (updated
daily).
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serious illness or death than other prisoners if she were to contract COVID-19. Id. at Ex. 2 (under

seal). As her doctor explained, Ms. Janavs’ condition is hereditary, and lessens her ability to fight

respiratory viral infections like COVID-19, particularly during the early stages of infection. Id.

Ms. Janavs’ underlying health condition is one of the greatest risk factors for serious disease and

death from a COVID-19 infection, according to the Centers for Disease Control (“CDC”). 8

        The government did not dispute the fact that Ms. Janavs suffered from a serious underlying

health condition that puts her at risk. Nor did the government deny or minimize the risks that the

COVID-19 pandemic posed for her in custody. Dkt. No. 1114. But rather than assent to her

request to convert her sentence to home confinement, the government suggested that she “continue

to seek to delay [her] self-surrender date[]” until a COVID-19 vaccine is developed. Id. at 18.

       The Court denied Ms. Janavs’ motion on April 30, 2020. Dkt. No. 1128. But the Court

acknowledged that COVID-19 was an “unprecedented and continually evolving cause of concern.”

Id. at 2. The Court also acknowledged the “particular transmission risk in penitentiary facilities.”

Id. The Court followed the government’s recommendation and postponed Ms. Janavs’ surrender

date to June 30, 2020, to be consistent with the delayed surrender date for Elizabeth Henriquez,

who had also requested a sentence of home confinement as an alternative to incarceration due to

the COVID-19 pandemic. “If the public health crisis has not abated by the time of the extended

report date,” the Court stated, “the Court will entertain further motions.” Id. at 3.

       The public health crisis has not abated. At the time Ms. Janavs first requested a sentencing

modification the United States already had more confirmed cases (826,184) and more deaths

(45,150) from the virus than any country in the world. Dkt. No. 1098 at 5. In the last month, both

of those figures have doubled. The United States now has more than 1.8 million confirmed cases



8
 CDC, Preliminary Estimates of the Prevalence of Selected Underlying Health Conditions Among
Patients with Coronavirus Disease 2019 — United States, February 12–March 28, 2020, March
31, 2020, available at https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/mm6913e2-H.pdf.
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and more than 100,000 deaths. 9 Moreover, as most states relax their “social distancing”

guidelines, and as protests erupt nationwide in response to the killing of George Floyd, experts

predict that there will be a spike of new COVID-19 infections in the coming weeks. 10

       The conditions in the BOP have deteriorated even more dramatically. When Ms. Janavs

requested relief five weeks ago there were more than 1,000 reported COVID-19 cases among

inmates in the BOP and 23 prisoners had died. Dkt. No.1098 at 10. According to the BOP, as of

today there have been more than 5,500 confirmed cases of COVID-19 among inmates. 11 But even

these figures underestimate the number of infections. As the BOP acknowledges, “[t]he positive

test numbers are based on the most recently available confirmed lab results involving open cases

from across the agency . . . .” 12 The BOP is still not testing the vast majority of its inmates,

including many who are symptomatic. See Dkt. No. 1098 at 9; see United States v. Esparza, No.

07-CR-00294, 2020 WL 1696084, at *2 (D. Idaho April 7, 2020) (noting that testing inside prisons

has been “scant except for people who self-report symptoms” and therefore “statistics about the

number of infections already in BOP facilities are largely meaningless.”). As the BOP has

acknowledged, it gave up on testing in facilities that are already experiencing “sustained

transmission,” choosing instead to simply assume that everyone is infected. 13 That assumption




9
   Johns Hopkins University of Medicine, Coronavirus COVID-19 Global Cases, Center for
Systems Science and Engineering, available at https://coronavirus.jhu.edu/map.html (updated
daily).
10
    Daniela Hernandez and Brianna Abbott, Protests Over Death of George Floyd Threaten a
Jump in Coronavirus Cases, The Wall Street Journal, May 31, 2020, available at
https://www.wsj.com/articles/protests-over-death-of-george-floyd-threaten-a-jump-in-
coronavirus-cases-11590967384
11
    BOP COVID-19 Cases.
12
    Id. (emphasis by BOP).
13
    Nicholas Chrastil, Louisiana Federal Prison No Longer Testing Symptomatic Inmates for
Coronavirus Due To ‘Sustained Transmission,’ The Lens, Mar. 31, 2020, available at
https://thelensnola.org/2020/03/31/louisiana-federal-prison-no-longer-testing-symptomatic-
inmates-for-coronavirus-due-to-sustained-transmission/
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appears to be correct. The BOP recently conducted mass testing of inmates at FCI Lompoc, a low

security facility in California, and nearly 70% of them tested positive for COVID-19. 14

       Thus, it does not matter that the BOP has reported no “confirmed cases” at FPC Bryan.

That is not an indication of whether there are infected inmates there. See United States v. Feucht,

Case No. 11-cr-60025, Dkt. No. 53 (S.D. Fla. May 28, 2020) (granting compassionate release

despite no confirmed cases at FCI Jessup because “[z]ero confirmed cases is not the same thing as

zero COVID-19 cases” (citation omitted)); United States v. Atkinson, No. 2:19-CR-55 JCM

(CWH), 2020 WL 1904585, **2-4 (D. Nev. Apr. 17, 2020) (granting compassionate release to

defendant at FPC Atwater, notwithstanding absence of confirmed COVID-19 cases, because it was

impossible for medically vulnerable inmates to protect themselves from the virus there); United

States v. Amarrah, 2020 WL 2220008 (E.D. Mich. May 7, 2020) (releasing medically vulnerable

inmate from FCI Loretto, despite no reported COVID-19 cases there, because he could not

adequately protect himself in line with CDC guidelines); United States v. Asaro, No. 17-CR-127

(ARR), 2020 WL 1899221, at *6 (E.D.N.Y. Apr. 17, 2020) ( “I cannot conclude that no cases are,

in fact, present, without assurances that the BOP is routinely testing everyone within the facility.”).

       To illustrate the point, on April 28, 2020, a female prisoner died of COVID-19 after giving

birth at FMC Carswell, a women’s medical facility in Fort Worth, TX, about 170 miles away from

FPC Bryan. 15 BOP reports that the facility has zero confirmed cases, one inmate recovered, and




14
   Richard Winton, 70% of Inamtes Test Positive for Coronavirus at Lompoc Federal Prison,
Los Angeles Times, May 9, 2020, available at https://www.latimes.com/california/story/2020-
05-09/coronavirus-cases-lompoc-federal-prison-inmates
15
   Jozelyn Escobedo, Fort Worth Inmate Who Had COVID-19 Dies Weeks After Giving Birth
While on Ventilator, April 29, 2020, available at
https://www.wfaa.com/article/news/health/coronavirus/fort-worth-inmate-who-had-covid-19-
dies-weeks-after-giving-birth-while-on-ventilator/287-a2c0f7b0-8897-4d27-b5e3-0c2aaa7e14ca.
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one dead. 16 By contrast, FMC Fort Worth, a men’s medical facility in the same town, where

widespread testing was conducted, reports more than 600 confirmed cases and 10 deaths. 1718

       Perhaps the only reliable indicator of how safe the BOP is for people with underlying health

conditions is the number of inmate deaths. That figure has more than tripled in the past month

from 23 to 71. 19 The government does not contend that the BOP is currently safe for a person,

like Ms. Janavs, with a documented health condition. Ms. Janavs should not be forced to choose

between risking her life by surrendering to BOP custody or waiting indefinitely to serve her time.

III.   ARGUMENT

        A court may grant a sentence reduction either upon motion of the Director of the BOP, or

upon motion of the defendant after “the lapse of 30 days from receipt of such a request [from the

defendant] by the warden of the defendant’s facility, whichever is earlier. . . .” 18 U.S.C. §

3582(c)(1)(A). In order to modify a sentence, a district court must engage in a three-step process.

       First, the court must reevaluate the 18 U.S.C. § 3553(a) factors. 18 U.S.C. § 3582(c)(1)(A).

       Second, the court must find that “extraordinary and compelling reasons warrant such a

reduction” and “that such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission[.]” 18 U.S.C. § 3582(c)(1)(A)(i). The Sentencing Commission has

determined that “extraordinary and compelling reasons” include (1) medical conditions which

diminish the ability of the defendant to provide self-care in prison, (2) age-related deterioration,




16
   BOP COVID-19 Cases
17
   William Joy, Family Members Concerned as Coronavirus Cases Skyrocket in Fort Worth
Federal Prison, April 28, 2020, available at
https://www.wfaa.com/article/news/health/coronavirus/family-members-concerned-as-
coronavirus-cases-skyrocket-in-fort-worth-federal-prison/287-5a79594d-b12a-41b1-9eaa-
2d6b168766db
18
   BOP COVID-19 Cases.
19
   BOP COVID-19 Cases.
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(3) family circumstances, and (4) other extraordinary and compelling reasons that exist either

separately or in combination with the previously described categories. USSG § 1B1.13.

       Third, the Court must find that “the defendant is not a danger to the safety of any other

person or to the community, as provided in 18 U.S.C. § 3142(g).” 18 U.S.C. § 3582(c)(1)(A).

       A. Ms. Janavs has Fulfilled § 3582(c)’s Exhaustion Requirement

       First, Ms. Janavs made a formal written request to the warden of her facility, and that

request was denied by BOP’s Regional Counsel. Dkt. No. 1098 at 13. When an inmate's request

for an agency-sponsored motion for compassionate release is denied by the BOP’s General

Counsel, that denial is a “final administrative decision” by the BOP that cannot be appealed. 28

C.F.R. § 571.63. Every court to have considered the issue has agreed that a defendant whose

request for compassionate release is denied by BOP’s General Counsel has exhausted remedies.

See United States v. Johnson, No. 15-CR-125 (KBJ), 2020 WL 2515856 (D.D.C. May 16, 2020)

(finding that “there can be no doubt that [defendant’s] letter to the BOP seeking an agency-

sponsored motion for compassionate release initiated the administrative process for the purpose of

section 3582(c)(1)(A),” and that when “BOP’s general counsel responded that BOP ‘will not be

able to consider [the defendant] . . . for compassionate release’ because he is ‘not currently in BOP

custody,’ [the defendant] unquestionably exhausted all of the administrative remedies that were

available to him, as set forth in the BOP’s own regulations.”); United States v. Gonzalez, No. 18-

CR-232, 2020 U.S. Dist. LEXIS 56422 at *4-5 (E.D. Wash. March 31, 2020) (same); United

States v. Hernandez, No. 18-cr-834, 2020 U.S. Dist. LEXIS 58739 (S.D.N.Y. April 2, 2020)

(same); see also United States v. Macfarlane, No. CR 19-10131-NMG, 2020 WL 1866311, at *1

(D. Mass. Apr. 14, 2020) (“Defendant Macfarlane has requested that the BOP file a motion to




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reduce his sentence and the BOP has denied that request. The Court finds that defendant has

therefore fully exhausted his administrative rights and his motion is properly before this Court.”).

       Second, even if the representation of BOP Regional Counsel that Ms. Janavs’ request was

denied did not settle the matter, the BOP has not otherwise responded to Ms. Janavs’ request.

More than thirty days have lapsed since Ms. Janavs made her request on March 23, 2020. See 18

U.S.C. § 3582(c)(1)(A). Therefore, Ms. Janavs has exhausted her remedies that way too.

       Third, it has become clear that BOP has a policy of refusing to consider motions for

compassionate release by prisoners who are not in BOP custody. The government has taken the

position that that policy is supported by law. See Dkt. No. 1114 at 9 (“[B]ecause Janavs is not yet

in custody, BOP could not act on her request.”); id. (“[T]he plain language of the statute . . . does

not contemplate a motion by an individual who is not yet in BOP custody.”). According to the

government, it would be impossible for Ms. Janavs to exhaust her remedies unless she were to

surrender to BOP, which would expose her to precisely the type of risk her motion is meant to

prevent. Id. The government is wrong, as we have previously pointed out. See Dkt. No. 1124.

But the BOP has adopted that view. As a result of this policy, any further attempt by Ms. Janavs

to exhaust administrative remedies with the BOP would be futile. See United States v. Van Dyke,

No. 2:15-CR-0025-JLQ-1, 2020 WL 1811346, at *2 (E.D. Wash. Apr. 8, 2020), adhered to on

reconsideration, No. 2:15-CR-0025-JLQ-1, 2020 WL 1845553 (E.D. Wash. Apr. 10, 2020)

(holding that a defendant awaiting transfer to BOP was excused from the exhaustion requirement

because “[d]efendant is not in the custody of the BOP,” and “[t]herefore, there is no warden to

petition.” “Any attempts to exhaust administrative remedies would be futile”). 20



20
  Even if Ms. Janavs had not both exhausted her administrative remedies and waited 30 days
before filing, this Court could excuse both requirements. The First Circuit has never held that
section 3582(c)(1)(A)’s exhaustion requirement is jurisdictional, and this Court should join the
many others in this district that have held it is not. See United States v. Guzman Soto, No. 18-cr-
10086, ––– F.Supp.3d ––––,2020 WL 1905323, at *3-4 (D. Mass. Apr. 17, 2020); United States
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       B.      The 3553(a) Factors Favor Reducing the Sentence to Home Confinement

       Ms. Janavs is a mother of three and a philanthropist who has dedicated decades of her life

to helping others, particularly vulnerable children. The Court recognized Ms. Janavs’ heart-felt

remorse and her many deeds of charity and kindness and found that her unique circumstances

warranted a reduction in what otherwise would be a warranted sentence. Dkt. No. 872 at 55. The

Court’s decision to sentence her to prison was driven by the need to “reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense,” and the

need to “afford adequate deterrence to criminal conduct.” 18 U.S.C. § 3553(a)(2)(A), (B). There

was no discussion at the original sentencing of the need to “provide the defendant with needed . .

. medical care . . . ,” 18 U.S.C. § 3553(a)(2)(D), or to protect BOP staff and inmates from additional

risk of infection, because the COVID-19 pandemic had not yet begun in the United States.

       If Ms. Janavs were sentenced today, the Court would be required to balance the need to

punish her and deter others with a short prison term against the risk that that term posed to her

health, and possibly her life. In United States v. Pena, No. 16-cr-10236-MLW, ECF No. 221 (D.

Mass., May 29, 2020), Judge Wolf had sentenced a white-collar offender to 32 months’

imprisonment for defrauding the United States government of $2.5 million. After serving seven

months of his term, Pena moved the Court to convert the remainder of his term to home

confinement. Although there were no confirmed COVID-19 cases at FMC Devens, the prison

camp where Pena was housed, the Court granted the motion, finding that the risks posed to Pena

outweighed the need to incarcerate him. Id. at 10. Like this Court, Judge Wolf held that the

COVID-19 pandemic was “extraordinary” and that it had “created unforeseen and extreme risk”

to inmates in BOP’s custody. Id. at 18. Although there were no infections at FMC Devens, the




v. Ilarraza, No. 18-CR-10041-RWZ, 2020 WL 2475647, at *1 (D. Mass. May 13, 2020) United
States v. Ramirez, No. CR 17-10328-WGY, 2020 WL 2404858 (D. Mass. May 12, 2020).
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Court noted that there were several infections at a nearby medical center, and that it was only a

matter of time before infections appeared at the camp, despite the restrictive conditions imposed

by the BOP, and despite the Warden’s best efforts. Id. at 9-10. The Court emphasized that “[i]n

all white-collar cases, the interest of general deterrence is important.” Id. at 20. But “in view of

the danger of being in prison created by the COVID-19 virus, the seven months Pena has served

should be sufficient to send the message that it would be a miscalculation, potentially a fatal

miscalculation, for anyone to defraud the United States now.” Id.; see also United States v. Young,

No. CR19-5055 BHS, 2020 WL 2614745, at *4 (W.D. Wash. May 22, 2020) (granting home

confinement to defendant even though doing so would “clearly frustrate the purpose of deterrence,

both general and specific” because the defendant’s underlying health condition and the spread of

COVID-19 dramatically shifted the weight the Court gave to the factor requiring that it provide

the defendant with “needed ... medical care in the most effective manner.”).

       The same rationale applies here. Although a sentence of five months of imprisonment may

have been appropriate to punish Ms. Janavs at the time it was imposed, the punitive value of that

sentence is far outweighed by the grave danger it would pose for Ms. Janavs now. And converting

her sentence to home confinement in response to an unprecedented health pandemic would not

dilute the deterrent value of the sentence this Court imposed. No one will interpret an order

modifying Ms. Janavs sentence as anything other than a necessary response to a public health

crisis. Indeed, even the government appears to recognize that things have changed since February.

In a recent plea agreement, the government agreed to recommend a sentence of home confinement

for a parent whose conduct is comparable to Ms. Janavs’ conduct, and whose sentencing guideline

range is 21-24 months. See United States v. Peter Demaris, No. 1:20-cr-10099-RGS, Dkt. No. 2.

       Finally, when evaluating whether a term of home confinement can constitute “just

punishment” for Ms. Janavs’ offense, this Court should consider the heavy burden that Ms. Janavs


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has endured since this Court imposed sentence on her three months ago. Although she has not

been in physical custody, she has endured near-constant anxiety. See Ex. 1 (June 3, 2020 Letter

from Michelle Janavs). Ms. Janavs was prepared to serve her sentence shortly after it was imposed.

Had she surrendered then she would have served approximately three months by now. She would

have a release date. Instead, she has made no progress. She wakes up every day fearful of

contracting COVID-19 and becoming seriously ill or dying. And “the uncertainty of when and if

it will be safe” for her to go to prison also hangs over her “like a dark cloud.” Id.

       If this Court finds that a sentence of home confinement is not sufficiently punitive it has

the authority to impose strict conditions, including electronic monitoring and strict limits on

approved absences from the home. U.S.S.G. § 5F1.2, cmt. n. 1. If it concludes that the amenities

in Ms. Janavs’ home would cause detention there to be insufficiently punitive, it can limit those

amenities, or even order that she be confined in a residence with fewer amenities. Id. at cmt. n. 2.

The Court also has the authority to increase Ms. Janavs’ community service commitment.

       C.      Ms. Janavs Poses No Danger to Anyone

       It is undisputed that Ms. Janavs poses no danger to any other person or the community.

       D.      Extraordinary Circumstances Warrant Home Confinement

       This Court has already held that the COVID-19 pandemic is an extraordinary and

compelling circumstance warranting release to home confinement. See Macfarlane, 2020 WL

1866311, at *1. It did so in a case where the defendant was not even health compromised. The

Court reasoned that release was warranted in light of the COVID-19 pandemic and national

emergency, the particular risk of infection and transmission risk in penitentiary facilities, the fact

that the defendant was a non-violent first offender who posed no danger to the community, and

the fact that he was subject to quarantine in solitary confinement in a higher-security facility.




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       That logic applies with even greater force here because Ms. Janavs has a health condition

rendering her particularly vulnerable. See United States v. Huneeus, No. CR 19-10117, Dkt. No.

642 (D. Mass. Mar. 17, 2020) (finding that extraordinary and compelling circumstances warranted

sentence modification and ordering defendant released to home confinement “in light of the

national state of emergency due to the global COVID-19 pandemic and Huneeus’ unique health

circumstances . . . .”); see also United States v. Sloane, No. CR 19-10117-IT, Dkt. No. 647 (finding

that release “may well be warranted in light of the pandemic due to COVID-19, the national

emergency as declared by the President of the United States, the risk of infection and transmission

for inmates and staff posed by the population density of prisons, and the fact that Defendant is a

first time offender who does not pose a danger to the safety of another person or the community,”

but denying motion because of unexplained failure to exhaust administrative remedies); United

States v. Juan Ramos, No. 18-CR-30009-FDS, 2020 WL 1478307, at *1 (D. Mass. Mar. 26, 2020)

(ordering pre-trial release for a defendant who had previously been found to be a risk of flight and

danger to the community because defendant was diabetic and asthmatic and therefore at high risk

for contracting COVID-19); Maria Savino v. Steven J. Souza, --- F. Supp. 3d ---, No. CV 20-

10617-WGY, 2020 WL 1703844, at *8 (D. Mass. Apr. 8, 2020) (granting bail for habeas

petitioners in ICE custody to prevent risk of COVID-19 infection after finding that “[e]ven the

young and otherwise healthy detainees face a ‘substantial risk’” of serious harm from COVID-19).

       Indeed, if Ms. Janavs were in custody now, it is likely that she would be processed for

release to home confinement. On March 26, 2020, the Attorney General directed the BOP to use

its authority to “prioritize” the transfer of eligible prisoners to home confinement in order to

prevent the spread of COVID-19. 21 He instructed that “in assessing which inmates should be




21
  Office of the Attorney General, Memorandum for Director of Bureau of Prisons, March 26,
2020, available at https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement.pdf
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granted home confinement” the BOP should consider a number of factors, including (1) the age

and vulnerability of the inmate to COVID-19, in accordance with the [CDC] guidelines, (2) the

security level of the facility currently holding the inmate, (3) the inmate’s PATTERN score, (4)

the existence of a verifiable reentry plan, and (5) the inmate’s crime of conviction and assessment

of the danger posed by the inmate to the community. All the criteria set forth in that memo would

favor Ms. Janavs’ release. Eight days later, the Attorney General expanded that directive in

response to “significant levels of infection at several [BOP] facilities.” 22 He conceded that the

BOP’s precautions “have not been perfectly successful” at all BOP institutions and directed BOP

staff to “move with dispatch in using home confinement, where appropriate, to move vulnerable

inmates out of these institutions.” Id. The Attorney General directed that “all at-risk inmates –

not only those who were previously eligible for transfer” should be processed for release. Id.

       But the process of onboarding prisoners and then releasing them to home confinement has

proved to be a logistical nightmare for the BOP and a harrowing ordeal for prisoners. As this

Court saw in the case of Mr. Macfarlane, the BOP required him to undergo a 14-day locked-down

quarantine prior to being released. Macfarlane, 2020 WL 1866311, at *1. Because the camp where

he was housed had no quarantine facility, he was transferred to a higher-security facility where he

was confined to a cell for 23 hours a day and was not able to contact his family. Id. This Court

found that Macfarlane’s two-week confinement in solitary quarantine was the “equivalent of two

months in the Camp to which he was originally assigned.” Id. It would serve no purpose to require

Ms. Janavs to surrender to the custody of the BOP when the BOP is scrambling to process

defendants like her for transfer into home confinement. The process of surrendering to a remote

BOP facility, seeking early release, and then being transferred to another facility where she might



22
  Office of the Attorney General, Memorandum for Director of Bureau of Prisons, April 3, 2020,
available at https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement_april3.pdf

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have to spend another 14-days in solitary confinement would create unnecessary risk and hardship

for Ms. Janavs, other inmates, and BOP staff, their families, and communities.

IV.    CONCLUSION

       For the reasons stated above, Ms. Janavs respectfully requests that the Court modify her

sentence from a term of five months; incarceration in the custody of the BOP to a term of

supervised release with a condition of five months’ home confinement.

                                     Respectfully Submitted,

                                     MICHELLE JANAVS

                                     By her attorneys,

 Dated: June 3, 2020                 /s/ John L. Littrell
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                                 CERTIFICATE OF SERVICE

       I, John Littrell, hereby certify that on June 3, 2020, this document, filed through the

CM/ECF system, will be sent electronically to all registered participants in this matter as identified

on the Notice of Electronic Filing (NEF).



                                                                      /s/ John L. Littrell
                                                                        John L. Littrell




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